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WESTERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff,
VS. NO. 96-20052-Ma

JAMES SPENCER,

Defendant.

 

ORDER RESETTING SENTENCING DATE

 

Before the court is the defendant’s May 26, 2005, motion to continue sentencing Which is
presently set for June 3, 2005. For good cause shown, the motion is granted and the sentencing of
defendant J ames Spencer is reset to Friday, June 24, 2005, at 10:30 a.m.

rr rs so oRDERED this |Sl' day oftune, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

Thts doct.ment entered on the docket sheet in compliance
with Rute 55 andlor 32tb1 FFtCrP on

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Notice of Distribution

This notice confirms a copy of the document docketed as number 415 in
case 2:96-CR-20052 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

